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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-cv-00724-REB-MEH

   AMERICAN FAMILY MUTUAL INSURANCE COMPANY, a Wisconsin corporation,

           Plaintiff,

   v.

   DENVER HASLAM
   COMMERCIAL CAPITAL, INC.
   MIKEL MEWBOURN
   M&B DEVELOPMENT GROUP, INC.
   FALL RIVER VILLAGE COMMUNITIES, LLC
   ONEWEST BANK, FSB
   DEUTSCHE BANK NATIONAL TRUST COMPANY

           Defendants.


                                         PROTECTIVE ORDER


           The Parties, by and through their respective counsel, stipulate and agree to the entry of a

   protective order to protect the discovery and dissemination of confidential information or information

   which will improperly annoy, embarrass, or oppress any party, witness, or person providing discovery

   in this case,

           IT IS ORDERED:

           1.      This Protective Order shall apply to all documents, materials, and information, including

   without limitation, documents produced, answers to interrogatories, responses to requests for admission,

   deposition testimony, and other information disclosed pursuant to the disclosure or discovery duties

   created by the Federal Rules of Civil Procedure.
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           2.      As used in this Protective Order, “document” is defined as provided in Fed. R. Civ. P.

   34(a). A draft or non-identical copy is a separate document within the meaning of this term.

           3.      Information designated as “CONFIDENTIAL” shall be information that is confidential

   and implicates the proprietary, confidential, competitively sensitive and/or trade secret information of

   American Family Mutual Insurance Company and/or its related entities. CONFIDENTIAL information

   shall not be disclosed or used for any purpose except the preparation and trial of this case.

           4.      CONFIDENTIAL           documents,      materials,   and/or    information (collectively

   “CONFIDENTIAL information”) shall not, without the consent of the party producing it or further

   Order of the Court, be disclosed except that such information may be disclosed to:

           (a) attorneys actively working on this case;

           (b) persons regularly employed or associated with the attorneys actively working on the case

           whose assistance is required by said attorneys in the preparation for trial, at trial, or at other

           proceedings in this case;

           (c) the parties, including the plaintiff's and defendant’s designated representatives;

           (d) expert witnesses and consultants retained in connection with this proceeding, to the extent

           such disclosure is necessary for preparation, trial or other proceedings in this case;

           (e) the Court and its employees (“Court Personnel”);

           (f) stenographic reporters who are engaged in proceedings necessarily incident to the conduct

           of this action;

           (g) deponents, witnesses, or potential witnesses; and

           (h) other persons by written agreement of the parties.

           5.      Prior to disclosing any CONFIDENTIAL information to any person listed above (other

   than counsel, persons employed by counsel, Court Personnel and stenographic reporters), counsel shall
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   provide such person with a copy of this Protective Order and obtain from such person a written

   acknowledgment stating that he or she has read this Protective Order and agrees to be bound by its

   provisions. All such acknowledgments shall be retained by counsel and shall be subject to in camera

   review by the Court if good cause for review is demonstrated by opposing counsel.

           6.      Documents are designated as CONFIDENTIAL by placing or affixing on them (in a

   manner that will not interfere with their legibility) the following or other appropriate notice:

   “CONFIDENTIAL.”

           7.      Whenever a deposition involves the disclosure of CONFIDENTIAL information, the

   deposition or portions thereof shall be designated as CONFIDENTIAL and shall be subject to the

   provisions of this Protective Order. Such designation shall be made on the record during the deposition

   whenever possible, but a party may designate portions of depositions as CONFIDENTIAL after

   transcription, provided written notice of the designation is promptly given to all counsel of record within

   thirty (30) days after notice by the court reporter of the completion of the transcript.

           8.      A party may object to the designation of particular CONFIDENTIAL information by

   giving written notice to the party designating the disputed information. The written notice shall identify

   the information to which the objection is made. If the parties cannot resolve the objection within ten (10)

   business days after the time the notice is received, it shall be the obligation of the party designating the

   information as CONFIDENTIAL to file an appropriate motion requesting that the Court determine

   whether the disputed information should be subject to the terms of this Protective Order. If such a

   motion is timely filed, the disputed information shall be treated as CONFIDENTIAL under the terms

   of this Protective Order until the Court rules on the motion. If the designating party fails to file such a

   motion within the prescribed time, the disputed information shall lose its designation as

   CONFIDENTIAL and shall not thereafter be treated as CONFIDENTIAL in accordance with this
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   Protective Order. In connection with a motion filed under this provision, the party designating the

   information as CONFIDENTIAL shall bear the burden of establishing that good cause exists for the

   disputed information to be treated as CONFIDENTIAL.

           9.      At the conclusion of this case, unless other arrangements are agreed upon, each

   document and all copies thereof which have been designated as CONFIDENTIAL shall be returned to

   the party that designated it CONFIDENTIAL, or the parties may elect to destroy CONFIDENTIAL

   documents. Where the parties agree to destroy CONFIDENTIAL documents, the destroying party shall

   provide all parties with an affidavit confirming the destruction.

           10.     This Protective Order may be modified by the Court at any time for good cause shown

   following notice to all parties and an opportunity for them to be heard.

           SO ORDERED this 1st day of February, 2010, in Denver, Colorado.

                                                   BY THE COURT:




                                                   Michael E. Hegarty
                                                   United States Magistrate Judge
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                                              Appendix A

                                  American Family v. Haslam, et al.
                            U.S. District Court for the District of Colorado
                             Civil Action No. 1:09-cv-00724-REB-MEH

   AGREEMENT OF CONFIDENTIALITY

   1.
   My full name is: __________________________________________________________

   2.
   My address is: ___________________________________________________________

   3.
   My present employer is: ____________________________________________________

   4.
   My present occupation or job description is: ____________________________________


   5                                                                                                .
   I have received a copy of the Protective Order entered in this case. I have carefully read and
   understand the provisions of the Protective Order. I will comply with all of the provisions of the
   Protective Order.

   6                                                                                         .
   I will not disclose any documents covered by the Protective Order except as provided by the
   Protective Order. I will use any such information only with respect to this case.

   7                                                                                              .
   I will return all documents covered by the Protective Order that come into my possession and all
   documents or things which I have prepared which contain such information to any attorney
   representing the party that has employed or retained me at the conclusion of this case.

   8                                                                                                  .
   I submit to the jurisdiction of this Court for the purposes of enforcement of the Protective Order.

   DATED this ______ day of _______________, 2010.



   _________________________________________
